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 8 Attorneys for Defendant
   THE FINISH LINE, INC.
 9

10                                  UNITED STATES DISTRICT COURT

11                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

12

13 ZACHARY MURPHY, individually and on                Case No. 3:20-cv-05663-WHO
   behalf of all others similarly situated,
14                                                    DECLARATION OF SINDY ROUSSEAU
                   Plaintiff,                         IN SUPPORT OF DEFENDANT’S
15                                                    MOTION TO COMPEL ARBITRATION
           v.                                         AND STAY ACTION PENDING
16                                                    ARBITRATION
   THE FINISH LINE, INC., WHICH WILL DO
17 BUSINESS IN CALIFORNIA AS THE                      Date:   January 20, 2021
   INDIANA FINISH LINE, INC.; and DOES 1              Time:   2:00 p.m.
18 through 20, inclusive,,                            Crtrm.: 2, 17th Floor

19                     Defendant.                     Magistrate Judge: Hon. William H. Orrick

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     SMRH:4827-0611-1187.2      DECLARATION OF SINDY ROUSSEAU ISO DEFENDANT’S MOTION TO COMPEL
                                               ARBITRATION AND STAY ACTION PENDING ARBITRATION
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 1                                DECLARATION OF SINDY ROUSSEAU
 2 I, Sindy Rousseau, declare as follows:

 3            1.       I am a Manager of HR Compliance for Defendant The Finish Line, Inc.

 4 (“Defendant”). I have held this position since January 21, 2018. Based on my role as a Manager

 5 of HR Compliance, I have access to Defendant’s business records and records pertaining to its

 6 current and former employees. If called as a witness, I could and would competently testify

 7 thereto.

 8            2.       In preparing this declaration, I personally reviewed the business records maintained

 9 in the regular course of business of Defendant, including records pertaining to Plaintiff Zachary

10 Murphy (“Plaintiff”).

11            3.       To apply for employment with Finish Line, an applicant must create a unique

12 Finish Line account through Finish Line’s website. To create an account, an applicant must

13 provide a unique email address and password. Prior to the applicant creating their unique Finish

14 Line account, they are asked to click on a hyper link that takes them to a document with: (1) the

15 Finish Line Electronic Signature Policy and Notice and Consent to Electronic Records and

16 Signature; and (2) the Finish Line Employee Dispute Resolution Plan. These policies and

17 agreements are combined onto one document. The prospective employees are then asked to check

18 a box confirming they’ve reviewed, understand, accept and/or agree to the policies, notices and

19 agreements. After an applicant creates an account, he or she begins the application process by

20 uploading his or her resume, personal information, and experience. Attached hereto as Exhibit A

21 is a true and correct copy of the account creation page.

22            4.       As part of the application process, Finish Line requires that applicants complete

23 several human resources forms in order to submit an application for employment. In order to

24 complete the application process, the applicant and Finish Line enter into an agreement whereby

25 they mutually agree to submit any disputes arising out of the applicant’s application or

26 employment with Finish Line to binding individual arbitration through Defendant’s Dispute
27 Resolution Program (“DRP”). Once on the DRP review screen, the applicant is able to read

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 1 through and review the DRP in its entirety. If the applicant agrees to the DRP, he or she signs the

 2 DRP by typing his or her full name and date of birth in the space provided on screen.

 3            5.       Once hired, as part of the onboarding process, newly hired employees must review

 4 and acknowledge various policies and other documents governing the terms of their employment

 5 with Finish Line. Employees are presented with electronic documents via Workday. Each

 6 document has the following acknowledgment: “I have carefully read and fully understand the

 7 attached document, and I hereby accept and agree to the terms thereof. I agree that my electronic

 8 acknowledgment provided herein is the equivalent of a manual signature on said document.”

 9 Below the acknowledgment is a check box with the words “I Agree.” Attached hereto as Exhibit

10 B is a true and correct copy of a screenshot of this acknowledgment. New employees are required

11 to complete this process, but failure to do so does not hold up the onboarding and hiring process.

12            6.       Based on Defendant’s records that I reviewed, Plaintiff created an account with
13 Finish Line on June 26, 2019 using his unique email address and password. He also

14 acknowledged and agreed to the DRP at the time he created his account (see Exhibit A). He

15 applied for a store associate position on July 18, 2019. As part of his application for employment

16 on July 18, 2019, he was presented with the DRP (the “July 18 DRP”). Attached hereto as

17 Exhibit C is the July 18 DRP.

18            7.       After logging into his secure account, in order to complete his application, Plaintiff

19 was required to type in his first and last name, and date of birth, in order to acknowledge and agree

20 to the terms of the DRP. Plaintiff completed the required forms, electronically signed the DRP,

21 and submitted his application on July 18, 2019 at 2:24 PM. Because only Plaintiff had access to

22 his secure account via his unique username and password, only Plaintiff could have signed and

23 agreed to the DRP. Attached hereto as Exhibit D is a true and correct copy of the Excel

24 spreadsheet exported from Finish Line’s application website that reflect Plaintiff’s electronic

25 signature on the July 18 DRP.

26            8.       Plaintiff applied for two other positions at Finish line. On June 14, 2019 he applied
27 for a manager position for which he was not qualified. After he applied for the manager position,

28 Plaintiff was asked to re-submit his application. When he reapplied on June 26, 2019, Plaintiff
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 1 applied for a store associate position at the wrong store. Attached hereto as Exhibits E and F are

 2 true and correct copies of screenshots from Finish Line’s onboarding system displaying Plaintiff’s

 3 application process on June 14, 2019 and June 26, 2019, respectively, including his consent to the

 4 DRP on each date.

 5            9.       Plaintiff was hired by Defendant and began the onboarding process on or around

 6 July 26, 2019. As part of the onboarding process, Plaintiff was electronically presented with

 7 various policies and documents related to his employment for his review via Workday. On July

 8 26, 2019, Plaintiff accessed his Workday account using his unique username and password to

 9 review the additional documents, including another form of the DRP. Plaintiff checked “I Agree,”

10 acknowledging and agreeing to this version of the DRP (the “July 26 DRP”). Attached hereto as

11 Exhibit G is a true and correct copy of the July 26 DRP. Throughout his employment, Plaintiff

12 was able to log in and access his employment-related documents at any time using Workday.

13 Attached hereto as Exhibit H is a true and correct copy of Plaintiff’s electronic signatures on

14 Finish Line’s various onboarding documents.

15            10.      I am aware that Finish Line operates in all fifty states in the United States.

16 Moreover, Finish Line maintains a significant online presence, and ships to all fifty states.

17            I declare under penalty of perjury under the laws of the United States of America that the

18 foregoing is true and correct.

19            Executed this 11th day of December, 2020 in Phoenix, Arizona.

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22                                                                    SINDY ROUSSEAU

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